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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

Case No.: lS-ev-24933~CMA

PATRlCIA MELLNITZ,

Plaintiff,
vs.
CARNIVAL CORPORATION,
SUN BAHAl\/IAS WATER. SPORTS d/b/a,
BAHAMAS STORGAGE AND SHIPPING,
SUPPLIES COMPANY LTD., AND
SUPPLIES CORPORATION,

Defendants.
/

 

SWORN DECLARATION OF LUCIANA INGRAHAM
IN SUPPORT OF CARNIVAL CORPORATION AND SUN BAHAMAS WATER
SPORTS d/b/a BAHAMAS STORAGE AND SHIPPING SUPPLIES COMPANY LTD.,
JOINT M()TION TO DISMISS PLAINTIFF’S COMPLAINT
I, Lueiana lngraham, make this Sworn Declaration based upon my own personal
knowledge and the business records of SUN BAHAMAS WATER SPORTS dfb/a BAHAMAS
STORAGE AND SHIPPING SUPPLIES COl\/IPANY LTD. and attest to the truth of the facts that

are stated herein.

General Declarations

l. I am over twenty-one years of age and in all respects qualified to make this
Deelaration.
2. At all times relevant, including December 9, 2017 and the present, I have served as

Senior Manager of SUN BAHAMAS WATER SPORTS d/b/a BAHAMAS STORAGE AND

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SHIPPING SUPPLIES COMPANY LTl). (“SUN BAHAMAS”), a defendant in the above-
captioned case, and I am authorized to make this Sworn Declaration on its behalfl

3. l have personal knowledge concerning the activities and daily operations of SUN
BAHAMAS at all times material to this action.

4. SUN BAHAMAS Was formed in 2016. Since its formation, SUN BAHAMAS has
been, at all times, a private corporation registered in and existing under the laws of the Bahamas.
SUN BAHAMAS has never been registered or incorporated in any other location or jurisdiction
Since its formation SUN BAHAMAS has maintained its principal and only place of business in
Nassau, New Providence Bahamas.

5. Since its formation, SUN BAHAMAS has operated exclusively in Nassau, New
Providence Bahamas, where it operates snorkeling tours from Nassau Harbor to Rose Island and
back to Nassau Harbor.

6. On the date of the incident alleged in Plaintiff's Complaint, December 9, 2017, the
Ultimate Island Snorkel & Beach Safari excursion was offered to Carnival passengers through a
"Standard Shore Excursion Independent Contractor Agreement" between Carnival and SUN
BAHAl\/IAS. See Standard Shore Excursion Independent Contractor Agreement (“Agreement“) in
effect on the date of the incident alleged in the Complaint, December 9, 2017, attached as Exhibit
"A". The Agreement is redacted to exclude confidential and sensitive pricing information See Id.

Jurisdictiooal Declarations

7. SUN BAHAMAS has never been incorporated, licensed or qualified to do business

in the State of Florida. SUN BAHAMAS has never had subsidiaries incorporated or qualified to

do business in Florida.

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8. SUN BAHAMAS has never been incorporated in any other State or territory of the
United States, and has never been licensed or qualified to do business anywhere in the United
States. SUN BAHAMAS has never had parents or subsidiaries incorporated or qualified to do
business in the United States.

9. SUN BAHAMAS has never committed any of the acts enumerated in Florida
Statutes Sections 48.081, 48.181 or 48.193.

10. SUN BAHAMAS has never maintained any place of business within the State of
Florida or elsewhere in the United States.

ll. SUN BAI-IAMAS has never maintained any officers, directors, employees, and/or
agents within the State of Florida or elsewhere in the United States.

12. SUN BAHAMAS has never had an office, branch office or comparable facilities in
the State of Florida or elsewhere in the United States.

13. SUN BAHAMAS has never used, owned, leased, mortgaged or had any other lien
or interest in real, personal, or intangible property within the State of Florida, or elsewhere in the
United States and has never paid any taxes to the State of Florida or to any other State or territory
in the United States.

14. SUN BAHAMAS has never owned any assets in the State of Florida or elsewhere
in the United States.

15. SUN BAHAMAS has never maintained a telephone number, mailing address, place
of business, or bank account in the State of Florida or elsewhere in the United States.

16. SUN BAHAMAS has never maintained a registered agent in the State of Florida or

elsewhere in the United States and have never been subject to service of process in the State of

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Florida or elsewhere United States. SUN BAHAMAS has never authorized any person or entity to
accept service of process on its behalf outside of the Baharnas.

17. SUN BAHAMAS’ business operations has always been limited to the Bahamas.

18. SUN BAHAMAS has never operated a tour in the State of Florida or elsewhere in
the United States.

19. SUN BAHAMAS has never engaged in substantial and not isolated activities in the
State of Florida or elsewhere in the United States.

20. SUN BAHAMAS has never operated, eonducted, engaged in or carried on a
business venture, or had an office or agency in Florida or elsewhere in the United States.

21. SUN BAHAMAS has never operated vessels in the waters of the State of Florida
or elsewhere in the United States.'

22, SUN BAHAMAS has never agreed to indemnify Carnival within the meaning of
Florida Statutes Section 48.193(1)(d).

23. SUN BAl-IAMAS has never insured Carnival or any entity in Florida or elsewhere
in the United States.

24. SUN BAHAMAS has never breached any contract requiring performance in the
State of Florida or elsewhere in the United States

25. SUN BAHAMAS has never been in a principal/agent, joint venture,
employer/employee and/or partnership relationship with Carnival or any other cruise line/cruise
operator or entity located outside in Florida or elsewhere in the United States.

26. SUN BAHAMAS has never had an intention to create ajoint venture With Carnival

or any other cruise line/cruise operator.

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27. Carnival has never controlled or had the right to control any aspect of the SUN
BAHAMAS or its operations or vice versa.

28. There has never been a joint proprietary interest between SUN BAHAMAS and
Carnival. Carnival has never had a proprietary interest in any aspect of the SUN BAHAMAS or
vice versa.

29. SUN BAHAMAS has never shared nor had the right to share in the profits of
Carnival or vice versa.

30. SUN BAI-IAMAS has never shared nor had the duty to share in the losses of
Carnival or vice versa.

31. At all material times every single tour that SUN BAHAMAS offered has been
exclusively offered by SUN BAHAMAS, not Carnival. Neither Carnival, nor any other entity
doing business in the United States has ever owned, operated, managed or controlled any aspect
of SUN BAHAMAS or the tours SUN BAHAMAS owns.

32. SUN BAHAMAS has never entered into an agreement With Carnival imposing an
obligation to benefit third parties, including Carnival passengers, containing an express or implied
provision establishing intent to primarily or directly benefit third parties, including but not limited
to cruise ship passengers, or guaranteeing safe passage

33. SUN BAHAMAS knows of no connection that the incident alleged in Plaintiffs
Complaint has to the State of Florida, and the alleged incident did not cause injury to a person or
property located in the State of Florida.

34. The alleged incident in Plaintiffs Complaint occurred in the Bahamas.

 

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SWORN DECLARATION
Under penalties of perjury, I declare that I have read the foregoing Dcclaration and that the facts
stated in it are true to the best of my knowledge and belief. Florida'Statute §92.525(1)(c)(2). I
declare (or certify, verify, or state) under penalty of perjury under the laws of the United States
- ofAmerica that the foregoing is true and correct. Federal Statute U.S.C. §1746.

Dated.' April 10, 2019

m

LUCLANN iNGRAHAM

sENIoR MANAGER

sUN BAHAMAS wATER sPoRrs
afb/a BAHAMAS sToRAGE AND
sHiPPiNG sUPPLrEs coMPANY
L'n).

 

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EXHIBIT “A”

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STANDARD SHORE EXCURSION INDEPENDENT CONTRACTOR AGREEMENT

THIS AGREEMENT is made this 20"‘ Mnrch, 2017, between CARNIVAL CRUISE LlNES, a division of CARN!VAL
CORPORATION (hcreinafter "CARNIVAL"}, having a principal place ot` business at 3655 N.W. 87TH. AVENUE, MIAMI,
FlDR]DA 33178, and Sun Baltamas Water Sports (hereinal`ter called “OPERATOR"), having a principal place of business at:
Clearvlew Helghts,_Old Fort, Nassau,_New Provldence Bahamas

. . EB.M_&AEDQN.Q_[ILQM
l. ldegtification of Ve§sel§

CARNIVAL will provide the following vessels identified below for the sale ot` Shorc Excursions to its Guests:

CARNiVAL CONQUEST CARNIVAL BR_EEZE CARNlVAL DR.EAM CARN]VAL ECSTASY
CARN]VAL ELATION CARNlVAL FANTASY CARNlVAL FREEDOM CARN'IVAL FASCINATION
CARN'IVAL GLOR.Y CARN]VAL lM AGINAT[ON CARNIVAL lNSPlRATlON CARNIVAL LEGEND
CARN'IVAL LIBERTY CARNIVAL MAG[C CARNIVAL MlRACLE CARNIVAL PARADISE
CARNIVAL PR]DE CARNIVAL SENSATION CARNIVAL SPLENDOR CARNIVAL SPIR.IT
CARNIVAL TRIUMPH CARNIVAL VALOR CARNIVAL VlCTORY CARNIVAL SUNSHINE
CARNIVAL VISTA

The above vessels, together with such other vessels as may hereafter be named by CARNWAL, including those of any of its
subsidiaries, associated or affiliated companies now or after the date hereoi`, are herein referred to as the "Vcssels."

2. Purgose ongreement
CARNWAL is in the business of providing cruise vacations aboard the Vessels that call on various ports worldwide

OPERATOR is an independent contractor in the business of arranging and providing Shorc Excursions and is willing to provide
the Shorc Excursions to Guests on the Vesscls. During the term of this Agreement (set forth below), CARNTVAL agrees to sell
tickets for Shore Excursions to Vessci Guests and OPERATOR agrees to arrange and provide Shorc Excursions, subject to and in
accordance with this Agreement. As used in this Agreement, the term "Shore Excursions" refers to the shore excursion listed
herein below together with such additional or substitute shore excursions as may be added to this Agrcement by written
Addendum with the mutual consent cf the parties Any new or different shore excursions added to this Agreement by way of
Acldendum signed by both parties hereto shall be governed by the same terms and condition as this Agreement as if originally and
fully set forth in this Agreement. '

SI-IOR.E EXCURSION:
PORT IgUTB_Q_E_YRIPTIOI_\l §EI PRICE

' ULT CH!LD
Nassau Ultimate Island Snorkel & Beach Safari -

3. Terrn of Agreement
This Agreement shall commence on 23rd Marcl\, 2017, and continue for the term cf one yeat; provided, however, that (i)

CARNIVAL may terminate this Agrcement at any timc, (ii) OPERATOR may terminate this Agreement at any time by giving
at least thirty (30) days prior written notice and (iii) to the extent neither party gives notice of its intent to terminate this
Agrcetnent at the end of such initial one year term, this Agreement shall continue in full force and effect for additional one-year
terms, subject to each patty’s termination rights as set forth in clauses (i) and (ii) above

4. Adgei_'tising and Sle of §hore §§cu;sjogs

During the term cf this Agreemcnt, CARNIVAL agrees tc advertise and sell to Guests on the Vcssels the Shorc Excursions for
the ports listed above. CARNIVAL may charge its Guests such prices as it dctemtines in its sole discretion for the Shorc
Excursions. CARN'IVAL shall collect all proceeds directly from its Guests." Whenever possible, CARNIVAL will advise the
OPERATOR's representative via telephone, radio telephone, telex or telefax as to the number of tickets actually sold as well as
the anticipated sales cf tickets prior to arrival in pon. OPER.ATOR's representative will be advised as to final ticket sales as
soon as practicable after arrival in pcrt. Thcse Guests purchasing tickets for a Shorc Excursion are herein referred to as
"Excursion Guests,"

5. Shorc Excursions_
OPERATOR will arrange and provide the Shorc Excursicns to the Excursion Guests. OPERATOR acknowledges and

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represents that its Shorc Excursions satisfy and will continue to satisfy the highest standards of quality in the industry, and all of
OPERATOR’s employees will act in a professional manner consistent with generally accepted industry standards OPERATOR
acknowledges that the control and responsibility of all aspects of the Shorc Excursion remain exclusively the OPERATOR'S.
With respect to any water-based Shorc Excursion, OPERATOR shall ensure that (i) no divers or persons will be allowed to
touch, stand on, or damage any coral or rccf formation (ii) no person shall disturb or remove or collect from the sea any species
of flora and fautia, including rocks, dead coral, shells or,sand. OPER_ATOR acknowledges and represents that it will exercise
reasonable care for Excursion Guests' safety at all times.“llf any Excursicn Guest is dissatisfied with a Shore Excursion such that
CARNIVAL, in its sole discretion, determines that fpll or partial reimbursement of_the Shorc Excursion ticket is appropriate, the
amount so reimbursed shall be deducted by CARNIVAL from amounts otherwise due OPERA'I`OR under this Agreement.

OPERATOR shall collect Shorc Excursion tickets from the Excursion Guests.

Any activities that are independent of this contract, or. that are not listed in the Tour Description above, may not be sold during
the Shore Exeursion. The following activities are completely prohibited as forming any part of a Shore Excursion:

a) Parasailing c) Air Tours e) All Terrain Vehiclcs (ATV's)
b) Jet Ski Rentals d) Mopcds i) Motorcycles

OPERATOR shall not solicit cr make atty prior arrangements with current or future Camival Guests prior to or during the cruise
which the mentioned Guest or group of Guests will be part of. If OPERATOR is contacted by anyone -- individual, group or
Guest -- prior to a cruise wishing to book directly, OPER.ATOR is to take down all pertinent information and contact Tour
Operations with the request. Tour Operatiens will then work collectively with OPERATOR in creating the excursion in question
to the benefit of both parties and for the service of our Guests. If OPERATOR breaches the terms of this paragraph then, in
CARNWAL’s sole discretion and by written notice to OPBRATOR, it may suspend OPERATOR's right to operate one or more
of its Shorc Excursions for CARNIVAL Guests hereunder until OPERATOR receives written notice from CARNlVAL

otherwise

OPERATOR shall ensure that any live, non-feral, captive animals featured on display by OPERATOR, or that are pets of
OPERATOR, which have or may have contact with CARNIVAL’s Guests during a Shorc Excursicn or on OPERATOR’s
premises, must have received all required vaccinations as required by law.. Upon request by CARNIVAL, OPERATOR shall
promptly provide proof that all such animals are up to date with such required vaccinations.

6. Payments to OPERATOR

Immediately following conclusion of each Shorc Exeursicn, OPERATOR's representative will present to the Vessel's Shorc
Excursion Manager all Shorc Excursion tickets collected from the Excursion Guests. Paymcnts by CARN'EVAL shall only be
made in respect of tickets presented by the OPERATOR's representative and verified by the Vessel's Shore Excursion Manager.
Payment will be made in the form wire transfer from the main office. Camival reserves the right to not pay for Shorc Excursion
tickets redeemed more than 60 days after the applicable Shorc Excursion date. Payment of any Shorc Eitcursion ticket turned in
later than 60 days alter such Sliore Excursion date will require the written approval of the Director of Tour Operations.

7- Hat£r@
OPBRATOR represents and warrants that the Net Prices stated above are currently equal to or less than the net prices offered by
OPERATOR to any other cruise line or operator. lt`, during the 'l`eim of Agreement, OPERATOR shall offer net prices to any
other cruise line or operator that are less titan the net prices stated above, the net prices charged CARNIVAL shall be reduced tc
the level offered to such other cruise line or operator such that the net prices payable by CARNIVAL shall always be equal to or
less than the net prices charged any other cruise line or operator.

8. No Ugauthorizgd Rayi_ncnts
OPERATOR represents and warrants that no agreements (vcrbal or written) have been or will be entered into with any

employee or agent of CARNIVAL pursuant to which OPERATOR shall make any payment or gift to, or otherwise provide any
consideration to, such employee cr agent for any reason whatsoevcr. If any such employee or agent shall request or otherwise
make reference to any such payment, gill or other consideration, OPERATOR shall immediately notify CARNWAL in writing
at the address stated above.

9. Antiegrruption Clauses

OPERATOR represents, warrants, and covenants that none of its owners, principal oft`icers, directors, shareholders, or
employees expected to be significantly involved in the performance of services for Carnival meet any of the following:
(a) have been charged with a criminal offense;
(b) is (i) a current official or employee of any government agency or govemment~owned enterprise (including officers,
directors, employees, or other persons engaged by the customer or any of its affiliates); (ii) an official of a political party;
(iii) a candidate for public oft'tce; (iv) a close relative of an individual described in (i), (ii), (iii) or (iv)', or (v) a past
official of any government agency, enterprise, or party; or
(c) is a member ofor related tc a royal family.

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10.

Operator represents, warrants1 and covenants that, in connection with activities performed under this agreement or on behalf of
Camival, or in connection with any remuneration Operator has received or will received from Carnival, Operator has not and
will not offer, promise, authorize, pay, or act in furtherance of an offer, promise, authorization, or payment oi‘ anything of
value, directly or indirectly, to a Govemment Of’t`icial (as hereinafter defined), political party or party official, candidate for
political oft`ice, or official oi` a public international organization, in order to obtain or retain business, to secure an improper
advantage for any person, or to secure or influence discretionary action, inaction or a decision of a Govemment Offieial(s)
("Improper Payment Activity”). For purposes of this agreement, the term ”Government Oi`fioial" shall mean and include any
oii`ici_al or employee of national, local or provincial or state government department, agency, or instrumentality, as well as an
ottioial in the judicial, legislative, or military, anyone acting in an official capacity for any governnient, or any immediate '
family member of such persons.

Carnival shall have the right to terminate this agreement immediately upon written notice to Operator in the event Camival
develops a good faith belief that Opcrator has breached any of the obligations, representations, and warranties in the anti-
corruption provisions in this agreement, In the event Carnival learns of information raising a reasonable possibility of such a
breach, Camival shall be entitled to suspend performance of its obligations - including any payment obligations - for a
reasonable period during in order to investigate such a possible breach,

If a breach is caused by or linked to payments by Operator or any individual or entity acting on its behalf to a foreign official as
defined by the U.S. Forcign Corrupt Practices Act ("FCPA"), any obligations of payment by Carnival to Operator shall be
immediately extinguished and Camival shall have the right to demand return of all funds paid to Operator by Carnival, except to
the extent Operator can provide reasonable assurances that all or some portion of the funds were not used to make a payment to

a foreign official.

OPERATOR acknowledges that CARNIVAL has established a Business Partner Code of` Conduct that can be found at
litig :thhx_.c;_mporale-ir.netlphocitix.ahtiul’?e'-= ldodgp&gi=irpi-govconduct.

 

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OPERATOR is responsible for procuring and maintaining liability insurance against any and all injuries, whether personal or

otherwise, to Guests and damage or loss to their property, as follows:

a) OPERATOR is responsible for procuring and maintaining liability insurance against any and all injuries,
whether personal or otherwise, to Guests and damage or loss to their property. Operator’s insurance must cover all
activities that occur on the tour. lt` Operatcr utilizes any road, air or water conveyance, the below insurance
requirements must be met in addition to the General Liability requirement General Liabiiity: U.S. $2 million

per occurrence
b) Auto Liability: U.S. $2 million per occurrence (15 passengers cr less in vehicle).
c) Watercral`t Liability: U.S. $2 million per occurrence
d) Scuba/Snuba Liability: US$I million per occurrence for Dive Instructors Professional Liability
e) Aircrait Liability: US$I million per passenger including war risk liability.
t) It`Opcrator subcontracts for any services, the subcontractor must also provide insurance for its specific services

which meets the above requirementsl lf` the subcontractor cannot meet these requirements, Operator's insurance
must provide contingent liability covering the difference in conditions to the subcontractor’s insurance This does

not apply to subcontractors providing aircraft The actual air operator must meet all minimum aircraft liability
insurance requirements
g) The policy territory must be worldwide covering claims or suits brought in any jurisdiction

h) Camival Cruise Lines, Carnival Corporation, and their affiliated and/or related companies must be named as
additional insured’s including a waiver of subrogation with respect to the liability of the named insured.

i) Any deductible/self-insured retention that applies to insurance policies listed under a) through t) of this section 10
cannot exceed $100,000 per occurrence and must be noted on the certificate of insuranco.

j) The insurer must be rated at least A- VlI by AM Best or equivalent

k) Operator will provide CARNIVAL with a certificate of insurance certificate in English Withln 30 days of the
execution cf this agreement and annually thereafter.

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ll. indemnification
In addition lo and notwithstanding the insuring provision set forth above, OPERATOR agrees to indemnify, save, protect and

defend CARNIVAL, and the employees and agents oi`CARNIVAL and hold them harmless from and against any and all losses,
claims, liabilities, damages, causes o,l` actions, legal fees, costs and expenses which may arise or be claimed against CARNWAL
related to, in connection with, as a consequence of or arising from the business or operations of the OPERATOR and/or the
services provided to CARNiVAL and its Guests, as well as any breach of this Agreement by OPERATOR. Additionally,
OPERATOR shall be fully liable for acts of any its cmployees, officers, representatives, subcontractors (whether permitted
pursuant to the terms of this Agrecrnent cr nct) or agents, relating to, in connection with or otherwise arising as a consequence of
the Shorc Excursions.

12. Relationship of the Bertics
OPERATOR‘s relationship with CARNIVAL during the term of this agreement shall be that of an independent Contractor.

OPERATOR shall not have, and shall not represent that it has, any power, right or authority to bind CARNIVAL or to assume or
create any obligation or responsibility, express or irnplied, on behalf of CARN]VAL or in CARNIVAL‘s name. Nothing related
in this agreement shall be construed as constituting OPERATOR and CARNiVAL as partners, or as treating the relationships of
employer and employee, franchisor and franchisee, master and servant or principal and agent or joint venturers between the
parties hereto. OPERA'I`OR shall not represenl, communicate or imply in any advertising, literature, announcement or by any
other means that it is anything other than an independent Contractor.

l3. Representations and Warranties

Eseh party represents and warrants to the other party that (a) it has the requisite corporate authority to enter into and perform
this Agrcement, (b) this Agreement constitutes its legally binding obligation enforceable in accordance with its terms, and (c} its
execution and performance under this Agreement will not result in a breach of any obligation to any third party er infringe or
otherwise violate any third party’s rights

14. li$ight to Inspect

CARNIVAL or its representatives shall be entitled to inspect, audit and copy the Camival-related Shorc Excursion information
in OPERATOR's books and records as contemplated hereunder at any reasonable time in order to verify OPERATOR’s
compliance with this Agreement. Operatcr shall keep and maintain its books, records and accounts in reasonable detail to
accurately, completely and fairly reflect its activities and transactions hereunder, including the recipient and nature of every
payment or expenditure in connection with Operator’s performance of this agreement

l5, Miscellaneous Term§

a) Mgdii`reation:
This Agreement may only be modified by a writing duly executed by the parties hereto.

b) Waivers:
Any waiver of any of the terms and conditions of this Agreernent shall only be effective if given in writing and, if
given by a corporation, then only if signed by a duly authorized officer of such corporation

c) Litigation:
in the event of litigation, the prevailing party shall be entitled to recover all costs incurred in connection with the
litigation including, without lirnitation, reasonable attorney's fees. OPERATOR consents to the personal jurisdiction
over it and to tire venue of the courts serving the Southem District of Florida in the event of any lawsuit to which
CARNIVAL is a party and which is related to, in connection witlr, arising from or involving the Shorc Excursion or

the terms cf this Agreement.
d) L-_gt_i_re Agreement. Survivabilitv and Noticc:

This Agrecment supersedes any and all oral or written agreements heretofore made relating to the subject matter

hereof and constitutes the entire agreement of the parties relating to the subject matter hereof. Sections 9, 10, 13 and

14 shelf survive the termination of this Agreement. All notices given hereunder, which in any event must

specifically reference thc title, parties and date of this Agreement, shall be to the party’s principal place of business

as set forth herein (or other address to the extent proper notice has been given by the recipient which provides for a

different notice address), if to CARNIVAL attention Tour Operations Direetor, and if to OPERATOR,
594 B)\@NBS hb§{_ .B; g "t’ot.~¢s . Alternatively, notice may be given, which in any event must specifically reference the title,

arties and date of this A rcernent, by (i) facsimile, if to CARNIVAL at (305) 406-4904 and if to OPERATOR at
m_____*n (or other facsimile numbers to the extent proper notice has
een given y t e recrp ent which provides for different facsimile numbers) cr (ii) email which specifically

references this Agreement, if to CARNIVAL at acascals@carnival.com and if to OPERATOR at

*or other cmail addresses to the extent proper notice has been given by the recipient which provides for

' different email addresses).

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e) Goyeming La}y:
This Agrcemcnt shall be governed by and construed in accordance with the Gcneral Maritime Law of the United

States and/or the Laws of the State ofFIorida, U.S.A.

f) A§sjgmn§gt:
Neither party may assign any of its rights or obligation under this Agreemcnt (by operation of law or otherwise)
without the written consent of the other party and any attempt to do so shall be null and void (inoluding any
subcontracting by OPER._ATOR).

 
 
 

OPERATOR;§W\ bowl/mb h[o'ra,/ S{;u-!>,e. 'f_¢,w_<. cnn i ltulslzLINEs,
a div sign cARvaL CORPORATION

BY:

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'I`ITLE: mt mims 'POUR 0PERAT:0NS

